ALVIN UNTERMYER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Untermyer v. CommissionerDocket No. 26612.United States Board of Tax Appeals11 B.T.A. 405; 1928 BTA LEXIS 3815; April 3, 1928, Promulgated *3815  Collection of the proposed deficiency in this proceeding is barred by the statute of limitation.  Adrian C. Humphreys, Esq. and Chester A. Gwinn, Esq., for the petitioner.  L. L. Hight, Esq., for the respondent.  LITTLETON*405  The Commissioner determined a deficiency of $16,568.41 for the calendar year 1917.  This proceeding was submitted on the preliminary question whether collection of the proposed deficiency is barred by the statute of limitation.  The facts are stipulated.  FINDINGS OF FACT.  Petitioner is a resident of New York.  He filed his individual income-tax return for the calendar year 1917 with the Collector of Internal Revenue for the Second Collection District of New York on April 10, 1918.  March 23, 1923, the Commissioner assessed against petitioner additional income tax for the calendar year 1917 in the amount of $16,568.41.  February 27, 1923, petitioner filed an "Income and Profits Tax Waiver for the Year 1917 Effective for One Year from Said Date." March 28, 1923, petitioner filed a claim for abatement of the assessment of $16,568.41 with the Collector at New York.  No bond was filed in support of this abatement claim. *3816  The abatement *406  claim was considered by the Commissioner and was rejected on March 3, 1927, as set forth in the Commissioner's notice mailed to the petitioner on that date.  April 16, 1927, petitioner filed his petitioner with the Board.  No suit or proceeding in court for collection of the tax here involved has been commenced.  The additional tax involved results principally from the transfer of dividends reported as subject to surtax rates prevailing in the years 1915 and 1916 to Column 6 of Block "F" of petitioner's return for 1917 and subjecting such dividends to surtax rates prevailing in 1917.  OPINION.  LITTLETON: From the facts in this proceeding, the Board holds that collection of the proposed deficiency for the year 1917 is barred by the statute of limitation of five years.  . . Under the written consent entered into between petitioner and the Commissioner the period for collection of any additional tax for the year 1917 expired February 27, 1924.  This was prior to the enactment of the Revenue Act of 1924 and the provisions*3817  of section 278 of that Act are not applicable.  Judgment of no deficiency will be entered.